             4:22-bk-10799 Doc#: 7 Filed: 03/27/22 Entered: 03/27/22 23:19:01 Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Eastern District of Arkansas
In re:                                                                                                                 Case No. 22-10799-pmj
Karen D Easter                                                                                                         Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0860-4                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 25, 2022                                               Form ID: 309I                                                             Total Noticed: 18
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 27, 2022:
Recip ID                 Recipient Name and Address
db                     + Karen D Easter, 9509 W Markham Street, Unit B, Little Rock, AR 72205-2280
tr                       Mark T. McCarty, Chapter 13 Standing Trustee, <b>Line 1: 877-951-7471 code4545532</b>, <b>Line 2: 877-692-1036
                         code7210329</b>, P.O. Box 5006 N. Little Rock, AR 72119-5006
6747696                + Centennial Bank, 1301 Rebsamen Park Road, Little Rock, AR 72202-1853
6747699                + DJ Daily, DDS, 17200 Chenal Pkwy Ste. 250, Little Rock, AR 72223-5958
6747707                  GEICO, ATTN: Region 3 Underwriting, PO BOX 9105, Macon, GA 31208-9105
6747704                + Little Rock Wastewater, 11 Clearwater Drive, Little Rock, AR 72204-8009
6747708                + The General Insurance, 17304 Preston Rd Ste 1100, Dallas, TX 75252-5615

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: ecfbkcourts@yourdebtattorney.com
                                                                                        Mar 25 2022 21:52:00      Matthew David Mentgen, Mentgen Law, P.O. Box
                                                                                                                  164439, Little Rock, AR 72216
ust                    + Email/Text: USTPRegion13.LR.ECF@usdoj.gov
                                                                                        Mar 25 2022 21:52:00      U.S. Trustee (ust), Office Of U. S. Trustee, 200 W
                                                                                                                  Capitol, Ste. 1200, Little Rock, AR 72201-3618
6747703                   EDI: NAVIENTFKASMDOE.COM
                                                                                        Mar 26 2022 01:53:00      Aidvantage, U.S. Department of Eduction, P.O.
                                                                                                                  Box 9635, Wilkes-Barre, PA 18773-9635
6747705                   EDI: BANKAMER.COM
                                                                                        Mar 26 2022 01:53:00      Bank of America, PO Box 982234, El Paso, TX
                                                                                                                  79998-2234
6747709                + Email/Text: bankruptcy@car-mart.com
                                                                                        Mar 25 2022 21:52:00      Car-Mart of Little Rock, 5900 S University Ave,
                                                                                                                  Little Rock, AR 72209-2152
6747698                + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Mar 25 2022 21:49:09      Credit One, 6801 S Cimarron Rd, Las Vegas, NV
                                                                                                                  89113-2273
6747706                   Email/Text: credit7@entergy.com
                                                                                        Mar 25 2022 21:52:00      Entergy Arkansas, LLC, P.O. Box 8101, Baton
                                                                                                                  Rouge, Louisiana 70891-8101
6747697                + EDI: MID8.COM
                                                                                        Mar 26 2022 01:53:00      Midland Credit Management, Inc., 8875 Aero
                                                                                                                  Drive, Suite 200, San Diego, CA 92123-2255
6747701                + EDI: NESF.COM
                                                                                        Mar 26 2022 01:53:00      National Enterprise Systems, Inc., 29125 Solon
                                                                                                                  Rd, Cleveland, OH 44139-3442
6747702                   EDI: RMSC.COM
                                                                                        Mar 26 2022 01:53:00      PayPal Credit, P.O. Box 965005, Orlando, FL
                                                                                                                  32896-5005
6747700                + Email/Text: newbk@Regions.com
                                                                                        Mar 25 2022 21:53:00      Regions Bank, 400 W. Capital, Ste 250, Little
                                                                                                                  Rock, AR 72201-3436

TOTAL: 11


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
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District/off: 0860-4                                             User: admin                                                            Page 2 of 2
Date Rcvd: Mar 25, 2022                                          Form ID: 309I                                                        Total Noticed: 18
NONE


                                                  NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 27, 2022                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 25, 2022 at the address(es) listed
below:
Name                            Email Address
Mark T. McCarty
                                ecfmail@ch13ark.com

Matthew David Mentgen
                                on behalf of Debtor Karen D Easter ecfbkcourts@yourdebtattorney.com
                                matthew@mentgenlaw.com;matthew1962-80@forms.zohocreator.com;matthew@yourdebtattorney.com

U.S. Trustee (ust)
                                USTPRegion13.LR.ECF@usdoj.gov
                                Shari.Sherman@usdoj.gov;jackie.a.evatt@usdoj.gov;jill.p.eschbacher@usdoj.gov;mary.b.mansfield@usdoj.gov;Kent.H.Johnson
                                @usdoj.gov


TOTAL: 3
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Information to identify the case:
Debtor 1                 Karen D Easter                                                         Social Security number or ITIN    xxx−xx−5845

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Eastern District of Arkansas                              Date case filed for chapter 13 3/24/22

Case number:          4:22−bk−10799                                                             Judge: Phyllis M. Jones


Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Karen D Easter

2. All other names used in the aka Karen Brown, aka Karen Williams
   last 8 years
                                              9509 W Markham Street, Unit B
3. Address                                    Little Rock, AR 72205
                                              Matthew David Mentgen                                        Contact phone 501−392−5662
   Debtor's attorney
4. Name                                       Mentgen Law
        and address                           P.O. Box 164439                                              Email: ecfbkcourts@yourdebtattorney.com
                                              Little Rock, AR 72216

5. Bankruptcy trustee                         Mark T. McCarty                                               Contact phone 501−374−1572
     Name and address                         Chapter 13 Standing Trustee
                                              Line 1: 877−951−7471 code4545532
                                              Line 2: 877−692−1036 code7210329
                                              P.O. Box 5006
                                              N. Little Rock, AR 72119−5006

6. Bankruptcy clerk's office                                                                                Hours open 8:00 a.m. − 5:00 p.m.
     Documents in this case should be         300 W. 2nd Street                                             Contact phone: 501−918−5500 or
     filed in ECF or at one of these          Little Rock, AR 72201                                         479−582−9800
     addresses.                               OR
                                              35 E. Mountain St. Rm 316                                     Date: 3/25/22
     You may inspect all records filed in
     this case at this office or online at    Fayetteville, AR 72701
      pacer.uscourts.gov.
                                                                                                                  For more information, see page 2




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1
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Debtor Karen D Easter                                                                                                              Case number 4:22−bk−10799

7. Meeting of creditors
    Debtors must attend the meeting to     April 20, 2022 at 11:00 AM                                         Location:
    be questioned under oath. In a joint                                                                     341a Telephonic Meeting, use Teleconf
    case, both spouses must attend.                                                                          number Line 2, shown in trustee's address
    Creditors may attend, but are not      The meeting may be continued or adjourned to a                    above.
    required to do so.                     later date. If so, the date will be on the court
                                           docket.

                                           *** Valid photo identification and proof of social security
                                                              number required ***
8. Deadlines                               Deadline to file a complaint to challenge                                  Filing deadline: 6/21/22
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim        Filing deadline: 6/2/22
                                           (except governmental units):
                                           ** Effective December 1, 2017, for holder(s) of a claim secured by a security interest in the
                                           debtor's principal residence, please reference Bankruptcy Rule 3002(c)(7) regarding filing
                                           deadlines for attachments filed as a supplement to the holder's claim.
                                           Deadline for governmental units to file a proof of         Filing deadline: 9/20/22
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim can be filed on−line at
                                           www.arb.uscourts.gov or obtained at www.uscourts.gov or any bankruptcy clerk's office and filed at either
                                           address listed in #6 above. If you do not file a proof of claim by the deadline, you might not be paid on your
                                           claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                          Filing deadline: 30 days after the
                                           The law permits debtors to keep certain property as exempt. If you         conclusion of the meeting of creditors or
                                           believe that the law does not authorize an exemption claimed, you          within 30 days after any amendment to
                                           may file an objection.                                                     the list or supplemental schedules is
                                                                                                                      filed, whichever is later. ****
                                           Deadline to object to exemptions in cases converted ****Filing deadline: See Bankruptcy
                                           to Chapter 7:                                       Rule 1019(2)(B).

9. Filing of plan                          A copy of the Chapter 13 Plan may be viewed online at pacer.uscourts.gov or at the bankruptcy clerk's office or
                                           you may contact your attorney for additional information.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. Objections to confirmation must be filed
                                           with the Court and served on the Trustee and Debtor on or before the fourteenth (14th) day after the meeting of
                                           creditors is concluded. If no objection is timely filed, the plan will be confirmed pursuant to Federal Rule of
                                           Bankruptcy Procedure 3015. If objections are timely filed, a hearing on confirmation will be set by subsequent
                                           notice. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                           unless the court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at pacer.uscourts.gov. If you believe
                                           that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts         Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                               a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                               under the plan are made. A discharge means that creditors may never try to collect the debt from the
                               debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                               discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                               bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                               of any of their debts under 11 U.S.C. § 1328(f), you must file a motion.
14. Intent to abandon property The trustee may give notice at the meeting of creditors of his/her intent to abandon property unless
                               objections are filed within 15 days.

Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
